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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

 VICTORIA GUSTER-HINES and
 DOMINECA NEAL,

 Plaintiffs,                                 Case No. 1:20-cv-00117

 v.                                          Judge Mary M. Rowland

 McDONALD’S USA, LLC, a
 Delaware limited liability
 company, McDONALD’S
 CORPORATION, a Delaware
 corporation, STEVEN
 EASTERBROOK, CHRISTOPHER
 KEMPCZINSKI, and CHARLES
 STRONG,

 Defendants.


                      MEMORANDUM OPINION & ORDER

      Plaintiffs Victoria Guster-Hines and Domineca Neal (“Plaintiffs”) sued

Defendants McDonald’s USA, LLC, McDonald’s Corporation, Steven Easterbrook,

Christopher Kempczinski, and Charles Strong (collectively, “Defendants”) alleging

various forms of discrimination under the Civil Rights Act of 1870 (42 U.S.C. § 1981)

and Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq (“Title VII”).

Before the Court are Plaintiffs’ objections to the magistrate judge’s opinion on

Plaintiffs’ motion to override Defendants’ assertion of privilege [478] and Plaintiffs’

motion for leave to file a fourth amended complaint. [475]; [482]. For the reasons

stated herein, Plaintiffs’ objections are overruled, and Plaintiffs’ motion is denied.




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   I.     Background

        Plaintiffs are African American women who worked as senior executives at

McDonald’s USA. [94] ¶ 1. Plaintiffs brought their first complaint against Defendants

on January 7, 2020, alleging that Defendants engaged in discriminatory practices

against them in violation of § 1981. [1]. After Plaintiffs notified Defendants of their

claims, they both agreed to be placed on a paid leave of absence. [94] ¶ 33. Defendants

hired outside counsel, Grace Speights, to investigate the legal risks associated with

both Guster-Hines (the “Guster-Hines Investigation”) and Neal (the “Neal

Investigation”). [475-1] ¶ 124. Defendants assert that both investigations were

protected by attorney-client privilege, but Defendants intentionally waived the

privilege assertion over the Neal Investigation. See [490]. Defendants continue to

claim privilege over the Guster-Hines Investigation. Id. In June 2023, Defendants

nonetheless produced to Plaintiffs a non-privileged memorandum that Speights

authored that summarizes some conclusions from the Guster-Hines Investigation

(the “Guster-Hines Memo”). [475-2].

        The Guster-Hines Memo found that employee morale had improved since

Guster-Hines was placed on leave, and Ms. Speights recommended that if Guster-

Hines were to return to the office, she should “be placed in a non-operator facing role.”

[475] at 3-4. The memo also concluded that “Guster-Hines is a good leader” and that

Guster-Hines’s return “would [not] have a significant negative impact on the

employee morale or workplace environment” to her office. [475-2] at 2-3. Conversely,

the Neal Investigation found that “bringing Neal back into the office from leave



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[would] cause a tremendous disruption,” cause other employees to resign, and create

legal risks for Defendants. [478-8] at 3. The Neal Investigation ultimately led to

Neal’s termination. See [490] at 2.

        Plaintiffs moved for the magistrate judge to override Defendants’ assertion of

privilege over the Guster-Hines Investigation such that Plaintiffs would be able to

depose Speights about the investigation and obtain her handwritten notes. See [472].

The magistrate judge denied Plaintiffs’ motion, and Plaintiffs subsequently filed

objections to that decision with this court. [472]; [478].

        At the same time, Plaintiffs moved for leave to file a Fourth Amended

Complaint (the “FAC”) to add allegations in support of a constructive discharge claim.

Plaintiffs’ Third Amended Complaint (the “TAC”), filed on July 16, 2021, similarly

alleged that Plaintiffs were constructively discharged in support of their retaliation

claims. See, e.g, [94] ¶¶ 121, 201. Defendants Strong and Kempczinski filed partial

motions to dismiss those claims, which the Court granted on March 11, 2022. [105];

[108]; [166]. The Court dismissed Plaintiffs’ retaliation claims against Strong and

Kempczinski with prejudice because, among other things, Neal was actually—not

constructively—discharged, and according to the then-operative complaint, Guster-

Hines was still working for Defendants and thus hadn’t been discharged at all. [166]

at 4.




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           Plaintiffs argue they should be given leave to add constructive discharge

allegations because Guster-Hines resigned from McDonald’s on October 31, 2021 1,

meaning that the Court’s reasoning for granting Defendants’ partial motions to

dismiss is no longer applicable. [475] at 2. Plaintiffs further argue that the proposed

amendments are not unduly delayed because Plaintiffs only learned about the

Guster-Hines Investigation in June 2023. [506] at 5-6.

     II.      Plaintiffs’ Objection to the Magistrate Judge’s Ruling

              a. Legal Standard

           “A magistrate judge’s ruling on a nondispositive matter may be reversed only

on a finding that the order is ‘clearly erroneous or contrary to law.’” Bobkoski v. Bd.

of Educ. of Cary Consol. Sch. Dist. 26, 141 F.R.D. 88, 90–91 (N.D. Ill. 1992) (quoting

Fed. R. Civ. P. 72(a)). A district court cannot “reverse the magistrate judge’s decision

simply because the district court judge would have come to a different conclusion.”

Doe v. Individual Members of the Ind. State Bd. of Law Exam'rs, No. 1:09-cv-842-

WTL-JMS, 2010 WL 106580, at *1 (S.D. Ind. Jan. 4, 2010) (citing Pinkston v. Madry,

440 F.3d 879, 888 (7th Cir. 2006)). Rather, the district court can “overturn the

magistrate judge's ruling only if the district court is left with the definite and firm

conviction that a mistake has been made.” Weeks v. Samsung Heavy Indus. Co., 126

F.3d 926, 943 (7th Cir. 1997) (emphasis added).




1 Guster-Hines thus was not actually employed by McDonald’s at the time the Court granted
Defendants’ partial motion to dismiss. Plaintiffs nonetheless did not seek to amend their complaint
until March 19, 2024.

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      When a court is presented with a claim of attorney-client privilege, the court

must evaluate (1) whether “legal advice of any kind [was] sought from . . . a

professional legal adviser in his capacity as such,” and (2) “whether the

communication was relat[ed] to that purpose and made in confidence by the client.”

Sandra T.E. v. S. Berwyn Sch. Dist. 100, 600 F.3d 612, 618 (7th Cir. 2009) (internal

quotations omitted); see also In re Allen, 106 F.3d 582, 603 (4th Cir. 1997) (“The

relevant question is not whether [the attorney] was retained to conduct an

investigation, but rather, whether this investigation was related to the rendition of

legal services.”) (internal quotations omitted).

          b. Analysis

      Plaintiffs argue that the magistrate judge erred in finding that the Guster-

Hines Investigation was protected by attorney-client privilege for three reasons,

First, they argue that the Guster-Hines Investigation is not privileged because it was

undertaken for business purposes rather than to provide legal advice. Second,

Plaintiffs claim that even if the Guster-Hines Investigation was privileged,

Defendants waived that privilege by both producing the Guster-Hines Memo and by

allowing discovery into the Neal Investigation. Third, they argue that the fairness

doctrine compels the Court to allow discovery into the entirety of the Guster-Hines

Investigation. The Court disagrees.

       First, the Court declines to find that the magistrate judge clearly erred in

finding that Speights conducted the Guster-Hines Investigation to provide legal

advice. Plaintiffs argue that the Guster-Hines Investigation could not have been for



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a legal purpose and thus must have been for a business purpose because Defendants

failed to identify a specific and concrete “legal risk [that] preceded the investigation,”

[478] at 10–11. But Plaintiffs cite to no authority suggesting that a specific, pre-

existing risk must exist for attorney-client privilege to attach an investigation like

the one at issue here. Indeed, attorney-client privilege protects confidential

communications between a lawyer and her client “[w]here legal advice of any kind

is sought . . . from a professional legal advisor in [her] capacity as such.” United States

v. Evans, 113 F.3d 1457, 1461 (7th Cir. 1997) (emphasis added). Plaintiffs also argue

that the investigation cannot be privileged because the Guster-Hines Memo was sent

to business leaders as well as legal counsel for Defendants. [478] at 9. But the parties

agree that the Guster-Hines Memo is not privileged and was not prepared for the

purposes of providing legal advice. That Speights memorialized one non-privileged

aspect of her investigation for non-legal personnel does preclude privilege from

attaching to the rest of the investigation. Rather, as the magistrate judge found,

Speights was hired to provide legal advice to Defendants regarding the risks and

potential claims they may face from Plaintiffs. The magistrate judge found that the

investigation at issue fell squarely within the attorney-client privilege. This was not

error, let alone clear error.

       Next, the magistrate judge did not clearly err by finding that Defendants had

not waived privilege. Plaintiffs argue that the Guster-Hines Investigation and Neal

Investigation were not two separate matters but rather one “joint investigation.”

[478] at 13. Plaintiffs believe Defendant’s waiver regarding the Neal Investigation



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constitutes a “subject matter waiver” such that Defendants have also waived privilege

into the Guster-Hines Investigation. Subject matter waiver of otherwise protected

materials occurs when a party discloses communications or information concerning

the same subject matter. Fed. R. Evid. 502(a)(2).

      Like the magistrate judge, the Court does not believe this was a “joint

investigation” such that subject matter waiver would apply. In support of their

argument, Plaintiffs highlight that Speights conducted both investigations into

Guster-Hines and Neal, interviewed many of the same individuals for both

investigations at the same time, and took notes regarding both Guster-Hines and

Neal in the same notepad. Plaintiffs liken this to Lerman, where Defendants hired

legal counsel to investigate the conduct of an employee but produced only one of the

two privileged memoranda that counsel prepared. Lerman v. Turner, No. 10-cv-2169,

2011 WL 62124, at *6 (N.D. Ill. 2011). The Lerman court found that both memos

concerned the same investigation into the same conduct, and that by producing just

one of the memos Defendants had waived privilege as to the other. Id. at *10. The

Court reasoned that in the interest of fairness, Defendants should not be allowed to

selectively choose which privileged materials concerning the same subject matter

that Plaintiffs could review. Id.

      Here, the Court agrees with the magistrate judge that Speights was separately

investigating legal risks related to “each Plaintiff.” [472] at 8 (emphasis added).

Speights investigated both Guster-Hines and Neal, prepared separate reports

regarding both Guster-Hines and Neal, and ultimately concluded that different



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actions were appropriate for Guster-Hines and Neal. Unlike in Lerman, Defendants

here are not selectively waiving privilege over discrete aspects of one investigation.

The fact that both investigations were headed by the same person who took notes in

the same notepad does not transform two distinct investigations into distinct

individuals with distinct findings and outcomes into one joint investigation.

      Plaintiffs separately argue that Defendants’ production of the Guster-Hines

Memo is a “partial waiver” and thus Defendants have waived privilege over the entire

investigation into Guster-Hines. [478] at 14. But partial waiver only occurs when

“disclosure of a part of a privileged document or set of such documents is argued to

waive privilege in the rest of it.” Dellwood Farms, Inc. v. Cargill, Inc., 128 F.3d 1122,

1127 (7th Cir. 1997). Plaintiffs acknowledge, however, that the Guster-Hines Memo

is not and was never privileged. As a matter of law, then, Defendants’ disclosure of

the Guster-Hines Memo cannot constitute a partial waiver of privilege over the entire

Guster-Hines Investigation.

      Finally, Plaintiffs’ argument that the fairness doctrine compels an override of

privilege over the Guster-Hines Investigation fails for similar reasons. Plaintiffs rely

only on cases where the Court found there was a subject matter waiver; here, there

is none. Plaintiffs seek to combine two separate investigations with separate reports

and separate conclusions into one “joint investigation,” and then argue that denying

discovery into the entirety of both investigations would be unfair. But Plaintiffs have

failed to explain how waiving privilege over the Neal Investigation but not the

Guster-Hines Investigation is in anyway unfair. The magistrate judge found that



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fairness did not compel an override of privilege, and this Court does not find that the

magistrate judge clearly erred in doing so.

      The Court declines to find that the Magistrate Judge clearly erred in finding

that the Guster-Hines Investigation is protected by attorney-client privilege.

Plaintiffs’ objections to the contrary are overruled.

   III.   Motion for Leave to Amend

          a. Legal Standard

      Under Federal Rule of Civil Procedure 15(a), leave to amend a complaint “shall

be freely given when justice so requires.” Fed. R. Civ. P. 15(a). But leave to amend “is

not an absolute right.” Ewing v. 1645 W. Farragut, LLC, No. 16-CV-9930, 2018 WL

11276811, at *1 (N.D. Ill. Nov. 9, 2018), aff'd, 90 F.4th 876 (7th Cir. 2024). District

courts have broad discretion to deny leave to amend where there is “undue delay, bad

faith, dilatory motive, or undue prejudice to the non-moving party . . . or where the

proposed amendment is futile.” Id.

      An amendment is futile when it “’reasserts a claim previously determined[,] . .

. fails to state a valid theory of liability, or could not withstand a motion to dismiss.”

Bower v. Jones, 978 F.2d 1004, 1008 (7th Cir.1992) (internal citations and quotations

omitted). The Court applies Rule 12(b)(6) to determine whether the proposed

amendments are futile. See Garcia v. City of Chi., 24 F.3d 966, 970 (7th Cir. 1994). A

motion to dismiss tests the sufficiency of a claim, not the merits of the case. Gunn v.

Cont'l Cas. Co., 968 F.3d 802, 806 (7th Cir. 2020). “To survive a motion to dismiss

under Rule 12(b)(6), the complaint must provide enough factual information to state



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a claim to relief that is plausible on its face and raise a right to relief above the

speculative level.” Haywood v. Massage Envy Franchising, LLC, 887 F.3d 329, 333

(7th Cir. 2018) (quoting Camasta v. Jos. A. Bank Clothiers, Inc., 761 F.3d 732, 736

(7th Cir. 2014)). A court deciding a Rule 12(b)(6) motion “construe[s] the complaint in

the light most favorable to the plaintiff, accept[s] all well-pleaded facts as true, and

draw[s] all reasonable inferences in the plaintiff’s favor.” Lax v. Mayorkas, 20 F.4th

1178, 1181 (7th Cir. 2021).

      The Seventh Circuit has recognized two forms of constructive discharge. The

first occurs when “an employee resigns due to alleged discriminatory harassment.”

Fischer v. Avanade, Inc., 519 F.3d 393, 409 (7th Cir. 2008). The second form occurs

when “an employer acts in a manner so as to have communicated to a reasonable

employee that she will be terminated, and the plaintiff employee resigns, the

employer's conduct may amount to constructive discharge.” Id. (internal quotations

and citations omitted). A plaintiff bringing this second kind of constructive discharge

claim must demonstrate that “the axe was about to fall.” Id. (internal quotations and

citations omitted). Under either form, a plaintiff must establish that “working

conditions . . . had become unbearable.” Id. at 410. “An employees work environment

[] becomes intolerable under the second form when the employer’s actions

communicate to the employee that she immediately and unavoidably will be

terminated.” Wright v. Illinois Dep't of Children & Family Servs., 798 F.3d 513, 529

(7th Cir. 2015) (emphasis in original). Further, the Seventh Circuit has “set a high

bar to establish a constructive discharge claim, because ‘employees are generally



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expected to remain employed while seeking redress.’” Malas v. Hinsdale Twp. District

#86, No. 15-CV-10490, 2019 WL 2743590, at *25 (N.D. Ill. July 1, 2019) (citing Chapin

v. Fort-Rohr Motors, Inc., 621 F.3d 673, 679 (7th Cir. 2010).

          b. Analysis

      In the proposed FAC, Plaintiffs seek to amend their claims under Count V to

include allegations that Guster-Hines was constructively discharged as a form of

retaliation in violation of § 1981. [506] at 7; [475-1] ¶ 210. Defendants argue that the

Court should deny Plaintiffs’ motion for leave to file a fourth amended complaint

because their proposed amendments are futile, unduly delayed, prejudicial, made in

bad faith, and time-barred by 42 U.S.C. § 2000e-5(e)(1). Without deciding on every

argument, the Court agrees that the proposed amendments are futile and unduly

delayed, and thus denies Plaintiffs’ motion.

      The thrust of Plaintiffs’ argument is thus: (1) Guster-Hines gave McDonald’s

notice of her claims October 2019, (2) Guster-Hines and Defendants agreed that she

go on paid leave in October 2019, (3) Defendants hired Speights to conduct an

investigation of Guster-Hines, (4) Speights recommended that Guster-Hines be

placed in a non-operator facing role if she were to return, (5) Defendants acted on

Speights’s recommendation by never bringing Guster-Hines back from paid leave,

and (6) Defendants thereby constructively discharged Guster-Hines. See [475-1] ¶¶

121 – 129; [506] at 3–4. Plaintiffs argue that by acting on the Guster-Hines Memo’s

recommendation, Defendants constructively discharged Guster-Hines by “set[ting]




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her on a dead-end path towards termination.” [506] at 3 (quoting Fischer v. Avenade,

519 F.3d 393, 411 (7th Cir. 2008)).

        Plaintiffs argue that good cause exists to add allegations regarding Guster-

Hines’s constructive discharge over four years after filing their first complaint in part

because the basis for the Court’s prior dismissal—that Guster-Hines was still

employed by Defendants and thus could not have been constructively discharged—

was no longer applicable. But Guster-Hines resigned from McDonald’s in October of

2021, two and a half years before Plaintiffs filed this motion. To explain why they did

not seek leave to amend their complaint at that point, Plaintiffs claim that they “could

not have known that the investigation led to [Guster-Hines’s] constructive discharge”

until Defendants produced the Guster-Hines Memo. [475] at 6 (emphasis added). 2

        But the FAC does not allege any plausible facts showing that the investigation

led to Guster-Hines’s discharge. Notably, Defendants did not act on any

recommendation in the Guster-Hines Memo, despite Plaintiffs’ claims otherwise. The

Guster-Hines Memo contained no recommendation as to whether Guster-Hines

should be reinstated; it only made a recommendation as to what role Guster-Hines

should be placed in were she to return. If Defendants had acted on the Guster-Hines

Memo’s recommendation, Guster-Hines would have been reinstated in a non-operator

facing role, which never occurred. The Guster-Hines Memo also concluded that

“Guster-Hines is a good leader” and that Guster-Hines’s return “would [not] have a

significant negative impact on the employee morale or workplace environment” to her


2 Assuming arguendo that this is true, Plaintiffs still do not explain why they waited until nine months

after Defendants produced the Guster-Hines Memo to file this motion.

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office. [475-2]. The Court does not find it plausible that such an investigation could

have “caused” Guster-Hines to voluntarily resign, nor that the investigation was done

as retaliation.

       Further, Plaintiffs are required to allege that her employer’s actions

communicated to Guster-Hines that her termination was immediately pending and

unavoidable. Wright, 789 F.3d at 529. Plaintiffs do not plausibly allege that the

investigation communicated anything to Guster-Hines because Guster-Hines did not

know about the investigation at the time she resigned.

       Plaintiffs’ proposed amendments are also futile because they fail to assert that

Guster-Hines’s working conditions had “become unbearable,” as they must to allege

constructive discharge. See Fischer, 519 F.3d at 410. The FAC similarly does not

allege that Guster-Hines had a reasonable fear that “the axe was about to fall.” Id. at

409. Indeed, when Guster-Hines gave notice of her intent to resign from McDonald’s

in September 2021, she wrote that she was “electing to retire” with an effective date

of “[March 15, 2022] or sooner.” [478-1]. She gave this notice after having been on

paid leave for almost a year with no change in conditions. Plaintiffs’ proposed

allegations that the Guster-Hines Investigation caused Guster-Hines to resign, as a

form of constructive discharge and as retaliation for purposes of a § 1981 claim, are

thus futile.

       Finally, because Guster-Hines did not know about the investigation at the time

of her resignation, Plaintiffs are left wanting for an explanation as to why they did

not seek leave to amend their complaint until 30 months after Guster-Hines’s



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resignation. As Defendants argue, and Plaintiffs do not dispute, the parties litigated

for over two years with an understanding that Plaintiffs were no longer bringing

constructive discharge allegations. [487] at 9. Defendants credibly argue that

granting the motion would require additional depositions and document productions

in a case in which fact discovery has been ongoing since July 2021. Plaintiffs point

out that delay on its own is usually not a reason to deny motion to amend. But the

longer the delay, “the greater the presumption against granting leave to amend.”

King v. Cooke, 26 F.3d 720, 723 (7th Cir.1994); see also Morningware, Inc. v.

Hearthware Home Prod., Inc., No. 09 C 4348, 2011 WL 5239226, at *2 (N.D. Ill. Nov.

1, 2011) (denying a motion to amend when the parties were near the close of fact

discovery and Plaintiffs were aware of the factual predicate giving rise to proposed

amendment 15 months before they sought leave to amend). In its discretion under

Rule 15(a), the Court here finds that Plaintiffs’ delay was too great to allow the

proposed amended pleading.

      For the above stated reasons, the Court denies Plaintiffs’ motion.

                                     CONCLUSION

      For the foregoing reasons, the Court overrules Plaintiffs’ motion to override

Defendants’ assertion of privilege [478] and denies Plaintiffs’ motion for leave to file

a fourth amended complaint. [475]; [482].




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                                         E N T E R:


Dated: October 11, 2024

                                         MARY M. ROWLAND
                                         United States District Judge




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